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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )                 Civil Action No.: 1:15-CV-14137-DJC
 OF STATE POLICE,                   )
            Defendant               )
____________________________________)

                 JOINT MOTION REGARDING POST-TRIAL BRIEFING

        The parties hereby jointly move this Court to adopt the schedule for post-trial briefing in

this matter attached to this Motion as “Attachment A.” For their reasons, the parties state:

   1. This Court entered judgment for plaintiff in this matter on December 12, 2018 (Doc.

249).

   2. Plaintiff intends to file a Motion to Alter or Amend the Judgment pursuant to Fed. R. Civ.

P. 59(e) seeking instatement of plaintiff in the next appropriate Recruit Training Troop held by

defendant and to address interest. Defendant may file a Motion for Judgment as a Matter of Law

pursuant to Fed. R. Civ. P. 50(b) and/or a Motion for a New Trial pursuant to Fed. R. Civ. P.

59(a). Each of the foregoing motions are required to be filed on or before January 9, 2019.

   3. Plaintiff intends to file a Motion for Attorneys Fees and Costs pursuant to Fed. R. Civ. P.

54(d)(2). The deadline for filing this motion is December 26, 2018. This deadline may be

adjusted by court order, Defendant does not object to the scheduled proposed below, and the

parties agree it is logical to postpone any motion practice and briefing regarding attorneys fees

until after this Court has decided any Rule 50 and 59 motions submitted by the parties.
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   4. Given the complexity of factual and other matters at issue in this case and the upcoming

holidays, a slightly more extended briefing schedule, including 21 days for filings of oppositions

and 14 days for replies will assist this Court in giving the parties’ motions full consideration.

       WHEREFOR, the parties respectfully request that this Court adopt the schedule set forth

in Attachment A.

                                               Respectfully submitted,


  DEFENDANT                                          PLAINTIFF

  Massachusetts State Police                         Orlando Riley

  By its attorneys,                                  By his attorneys,

  MAURA HEALEY                                       /s/Ellen J. Messing
  ATTORNEY GENERAL                                   Ellen J. Messing
                                                     BBO No. 343960
  /s/ Nicholas Rose                                  emessing@mrwemploymentlaw.com
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  One Ashburton Place, 18th Floor
  Boston, MA 02108                                   DATE: December 13, 2018
  Tel: (617) 727-2200 Ext. 2592
  Fax: (617) 727-3076

  DATE: December 13, 2018
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                                 CERTIFICATE OF SERVICE

        I, James S. Weliky, hereby certify that this document, filed through the ECF system, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants, on
December 13, 2018.

                                               /s/ James S. Weliky
                                               James S. Weliky, Esq.

Dated: December 13, 2018
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ATTACHMENT A
       Case 1:15-cv-14137-DJC Document 250 Filed 12/13/18 Page 5 of 5



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )              Civil Action No.: 1:15-CV-14137-DJC
 OF STATE POLICE,                   )
            Defendant               )
____________________________________)


                    ORDER REGARDING POST-TRIAL BRIEFING


      The Court hereby adopts the following post-trial briefing schedule in this matter:


Motions pursuant to Fed. R. Civ. P. 50 and 59.       Due January 9, 2019
Oppositions to Fed. R. Civ. P. 50 and 59 Motions     Due January 30, 2019
Replies in Support of Fed. R. Civ. P. 50 and 59      Due February 13, 2019
Motions
Motion for Attorneys Fees and Costs                  Due 14 days after entry of final judgment
                                                     on the parties’ R. 50 and R. 59 motions.


So Ordered.


                                                   ____________________________________
                                                   United States District Judge
